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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                               TRENTON VICINAGE

   LINUS HOLDING CORP.,

                             Plaintiff,
                                                       CIVIL ACTION NO. 3:17-CV-03694-
   v.                                                            FLW-DEA

   MARK LINE INDUSTRIES, LLC,
   C. CHRISTOPHER REMKE, and JOSEPH C.
   BLOCKNO,

                             Defendants.




        MEMORANDUM OF LAW IN RESPONSE TO DEFENDANT'S APPLICATION
        TO BE RELIEVED AS COUNSEL AND IN SUPPORT OF PLAINTIFF'S CROSS
                        MOTION TO COMPEL DISCOVERY




                                           FOX ROTHSCHILD LLP
                                           Andrew J. Karas NJ 37931987
                                           Marissa Koblitz Kingman NJ 110542014
                                           49 Market Street,
                                           Morristown, New Jersey
                                           (973) 548-3316 (telephone)
                                           Email: akaras@foxrothschild.com
                                           Email: mkingman@foxrothschild.com
                                           (973) 992-9125 (facsimile)
                                           Attorneys for Plaintiff Linus Holding Corp.


 On the Brief:
 Andrew J. Karas, Esq.
 Marissa Koblitz Kingman, Esq.



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            Plaintiff, Linus Holding Corp. ("Linus" and/or "Plaintiff'), by and through its undersigned

 counsel, Fox Rothschild LLP, submits the following Memorandum of Law in response to the

 motion filed by Henry Reichner, Esq. to be relieved as counsel for defendant, Mosaic Capital

 Group, LLC ("Mosaic"), and in support of Mosaic's application to compel Mosaic's sole manager

 to fully respond to the discovery served by Linus, pursuant to F.R.C.P. 37.

                                       PROCEDURAL HISTORY

            On or about May 24, 2017, Plaintiff filed a and Order to Show Cause and Verified

 Complaint against Mosaic, Joseph C. Blockno ("Blockno"), C. Christopher Remke ("Remke") and

 Mark Line Industries, LLC ("Mark Line"). Thereafter, Plaintiff served discovery requests upon

 all parties. Discovery responses were due on November 16, 2017. Plaintiff has requested the

 discovery responses from all defendants numerous times since November 16, 2017.                  (See

 Certification of Andrew J. Karas, dated January 2, 2018, Exhibits A through K.). On or about

 December 20, 2017, Mr. Reichner, on behalf of Joseph Blockno, sent correspondence enclosing a

 Declaration from Blockno which purports to provide partial answers to Plaintiffs interrogatories.

 (See Certification of Andrew J. Karas, dated January 2, 2018, Exhibit K). Blockno, the Managing

 director and Principal of Mosaic, claims in his Declaration that he is unable to meaningfully

 respond to Plaintiffs interrogatories since he has had no access to his Mosaic email account since

 August 2017. He further claims that he has no documents in his custody or control responsive to

 Plaintiffs document demands. To date, Linus Holding has received no other discovery responses

 from any party. Counsel for Mosaic now seeks to withdraw as counsel for Mosaic.

                                      FACTUAL BACKGROUND

            The Verified Complaint filed by Plaintiff asserts that on October 7, 2016, following

 negotiations between representatives of Plaintiff, including Remke and Blockno, the managing

 principals and directors of Mosaic, Plaintiff entered into an agreement with Mark Line to purchase

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 modular units for a residential development project in Asbury Park, New Jersey. On October 12,

 2016, Plaintiff tendered a 20% deposit in the amount of $790,000.00 to Mark Line. Pursuant to

 the terms of the written agreement entered into between the parties, as a condition precedent to the

 deposit, Mark Line was obligated to obtain Performance and Payment Bonds guaranteeing

 performance by Mark Line. Mark Line, however, failed to obtain the bonds. Further, Mark Line

 failed to perform any work required under the terms of the agreement. Instead, it closed its doors

 and ceased operating in April, 2017. Plaintiff's deposit vanished.

            Blockno, Mosaic's self-described Principal and Managing Principal, negotiated key terms

 of the agreement with Plaintiff on behalf of Mosaic and Mark Line. In an email dated August 1,

 2016, Blockno outlined the following proposal relative to the deposit monies for the deal: "Based

 on the aboveI want to propose the following to you as an outline request to resolve an agreeable

 draw schedule in proceeding; 1) Upon execution of the PO we receive a 20% deposit against

 contract price. . .We can also price in and provide a performance bond if that is a desire to you and

 your bank?" These terms became an integral part of the final agreement.

        Plaintiff alleges in its Verified Complaint that Mark Line, upon entry into the agreement

 with Plaintiff, was incapable of performing under the terms of the agreement. It had insufficient

 capital upon which to obtain the bonds as required under the terms of the agreement entered into

 with Plaintiff Rather, it was entirely dependent upon Mosaic for capital to both operate and to

 perform under the terms of the agreement entered into with Plaintiff Blockno admitted as much

 in an email he sent to Plaintiffs representatives on December 5, 2016. Blockno attached to his

 email a spreadsheet containing the "consolidated financials" of BMB Investments, LLC as of

 October 1, 2016. (See Sackman Declaration, Exhibit E & F, Document 1-3, filed May 24, 2017).

 Blockno stated in his email that he was providing the "consolidated financials as verification of



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 the ability of the "parent companies" of Mark Line to furnish the Bonds. The parent companies

 identified in spreadsheet containing the "consolidated financials" included Mosaic as well as

 companies named BMB Investments and MCG Cane Bay. Significantly, the "consolidated

 financials" reflect that Mosaic, owned through an entity named BMB-MCG, as of October, 2016,

 had a value of $20,842,034.00 and equity of $13,812,529.00.

            On February 10, 2017, Blockno represented that the Bonds had been approved on the

 condition that a small ILOC (Irrevocable Letter of Credit) be secured from their bank. In response

 thereafter to numerous follow-up inquiries from Plaintiff as to the status of the Bonds, Blockno

 stated that they were simply waiting on Wells Fargo to issue the Letter of Credit. On March 9,

 2017, the Bonds were still not issued. Blockno forwarded an email on March 20, 2017, stating

 "the Ownership" was "prepared to put up the cash required to back the bond" but only if agreed to

 renegotiate a new project plan. Soon after, Mark Line, without warning, closed its doors and

 ceased operating.

            Significantly, the undersigned has received bank records for the bank account maintained

 by Mark Line with 1st Source Bank. One of the accounts maintained by Mark Line reveals that

 between October, 2016 and April, 2017, Mark Line transferred the sum of $120,853.46 to Mosaic.

 Mark Line also transferred during that same timeframe the sum of $113,540.45 to two of its other

 parent companies - BMB, LLC and MCG Cane Bay. Mark Line also inexplicably paid American

 Express bills totaling $399,045.55 between October, 2016 and April, 2017.

        In a letter submitted in support of the application herein by Mosaic, Kory Reimann

 ("Reimann") claims to be Mosaic's sole remaining manager. (See Henry Reichner Declaration,

 Document 42-2, filed December 14, 2017, Exhibit A.). Interestingly, Reimann's uncertified letter

 provides no contact information for him, nor does his letter establish his interest as the sole



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 remaining manager of Mosaic. Reinman also fails to explain the means or authority by which Mr.

 Blockno, as a "managing director and principal" for Mosaic, was removed from that role.

            Reimann also alleges in his letter that Mosaic has no assets. He fails to explain though

 what happened to the $20 million of assets Mosaic had just over a year ago as reflected in the

 "consolidated financials" which Blockno had provided to Plaintiff in December, 2016. Although

 stating that Mosaic now has no further assets upon which to pay counsel fees, Reimann offers no

 explanation as to what happened to those assets. He also offers no explanation as to what happened

 to the myriad of Mosaic's business investments. Just six months ago, on July 31, 2017, defendant,

 Remke, stated in a Declaration filed with this Court that "Mosaic has investments in several

 businesses, one of which is non-party Mark Line Holdings, LLC" (See Remke Declaration,

 Document 33-1, filed July 31, 2017, at ¶ 2.). There has been no explanation has been provided by

 Reimann detailing what happened to all those business interests.

        By purging itself of counsel and willing to accept a judgment, Mosaic undoubtedly seeks

 to position itself to avoid being forced to respond to discovery detailing its involvement in the

 transaction with Plaintiff as well as that of its officers and managers. Mosaic further seeks to avoid

 being forced to disclose its financial and managerial intertwinement with Mark Line and its parent

 and related entities. Lastly, Mosaic strategically seeks to avoid producing discovery relative to its

 assets prior to the action herein being filed or pertaining to the transfer of its assets following the

 commencement of the lawsuit. This clearly is all just a charade.

                                        LEGAL ARGUMENT

        Plaintiff is entitled to the requested discovery irrespective of whether Mosaic proceeds

 without counsel and despite its willingness to accept a judgment. Mosaic's decision to forgo

 counsel, together with its willingness to accept a judgment, is clearly nothing more than a veiled

 strategic attempt to limit its discovery obligations so to protect its officers and managers and to

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 insulate its related entities. Mosaic is willing to fall on its proverbial sword now that it has

 transferred all its assets to unknown persons and/or entities.

         Pursuant to F.R.C.P. 26(b)(1), "parties may obtain discovery regarding any non-privileged

 matter that is relevant to any party's claim or defense" and "the court may order discovery of any

 matter relevant to the subject matter involved in the action", although "relevant information need

 not be admissible at trial if the discovery appears reasonably calculated to lead to the discovery of

 admissible evidence." "Review of all relevant evidence provides each party with a fair opportunity

 to present an effective case at trial." Jones v. DeRosa, 238 F.R.D. 157, 163 (D.N.J. 2006). "Mutual

 knowledge of all the relevant facts gathered by both parties is essential to proper litigation ... [and]

 either party may compel the other to disgorge whatever facts he has in his possession." Stepanski

 v. Sun Microsystems, Inc., No. CIV.A. 10-2700 PGS, 2011 WL 8990579, at *18 (D.N.J. Dec. 9,

 2011), report and recommendation adopted, No. CIV.A. 10-2700 PGS, 2012 WL 3945911 (D.N.J.

 Sept. 10, 2012) (citing Hickman v. Taylor, 329 U.S. 495, 507, 67 S.Ct. 385, 91 L.Ed. 451 (1947)).

         Here, no defendant is claiming that the requested discovery is not relevant to this action.

 Defendants have simply failed to respond to Plaintiff's interrogatories and document demands.

 Mosaic is attempting to undermine Plaintiff's claims against all the defendants in this action by by

 refusing to respond to Plaintiff's discovery requests and to provide documents relevant to

 Plaintiff's claims. Knowing that the deadline has approached to provide the discovery, Mosaic

 strategically seeks to jettison its counsel and willing to accept a judgment as a means to avoid

 responding to discovery.

        Mosaic's letter terminating Reed Smith LLP as counsel for Mosaic in this action was

 signed by "Kory Reimann". See Reichner's Declaration, Exhibit A. Although Reimann purports

 to be Mosaic's sole remaining manager, he offers no certified statement providing a basis for the



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 claim and provides no documentation attesting to his authority to act on behalf of Mosaic. As a

 basis for relieving its counsel, Reimann represents that Mosaic is without any assets to further pay

 counsel. He fails to explain, however, what happened to over $20.0 million in assets which it had

 as of October, 2016. Should the court grant Mosaic's application and permit counsel to be relieved

 from representing Mosaic, Plaintiff requests that an accounting first be provided of Mosaic's assets

 for the years 2016 and 2017. Plaintiff further requests that prior to Reed Smith LLP's termination

 as counsel, Reimann, on behalf of Mosaic, first be required to produce all outstanding discovery

 and remain obligated to continue to provide such continuing discovery.

            Plaintiff further requests the right to seek sanctions against Kory Reimann personally if he

 fails to comply with the Court Ordered discovery. Rule 37 provides, in relevant part, that a party's

 failure "to obey an order to provide or permit discovery" allows "the court ... [to] issue further just

 orders." F.R.C.P. 37(b)(2)(A). Rule 37 requires "the court [to] order the disobedient party, the

 attorney advising that party, or both to pay the reasonable expenses, including attorney's fees,

 caused by the failure, unless the failure was substantially justified or other circumstances make an

 award of expenses unjust." F.R.C.P. 37(b)(2)(C); McLaughlin v. Phelan Hallinan & Schmieg,

 LLP, 756 F.3d 240, 249 (3d Cir. 2014). Sanctions for refusing to obey a discovery order can be

 sought against "a party or a party's officer, director, or managing agent[.]" F.R.C.P. 37(b)(2)(A).

                                              CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests that the Court compel Mosaic to

 fully respond to Plaintiff's discovery demands as a condition of relieving its counsel in this matter.

 Further, in light of the representations of Blockno and Remke of the substantial assets owned by

 Mosaic no more than a year ago, and its position now that it has no assets, Plaintiff requests that

 Mosaic be required to provide an accounting of all its assets for the years 2016 and 2017, including



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  the transfer, sale and/or disposal of said assets.

                                                           Respectfully submitted,

                                                           FOX ROTHSCHILD LLP


                                                           /s/ Andrew J. Karas
                                                           Andrew J. Karas, Esq.
   Date: January 2, 2018




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